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                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

In Re: Sirolli Properties, LLLP                             Case 3:12-bk-03726-JAF

                    Debtor.
__________________________

                                               PLAN

         The debtor, Sirolli Properties, LLLP, proposes and submits the following plan.

                                          ARTICLE I
                                        INTRODUCTION

                                               A. Plan
        1. The debtor has filed a voluntary petition under chapter 11 of the Bankruptcy Code and
now proposes the following plan. The plan sets forth how, and to the extent, the debtor proposes
to pay and treat the claims and interests of creditors and other interested parties, under the
provisions of chapter 11 of the Bankruptcy Code. The plan will not be effective unless it is
confirmed pursuant to a confirmation order.

                             B. Definitions and Property Description
        1. The definitions set forth in the Article III of the plan, and the definitions and rules of
construction set forth in§101 and §102 of the Bankruptcy Code shall apply when interpreting the
plan. In particular, the terms “proposed Till rate”, “Till rate” and “prime rate” are used extensively
below, and are defined in Article III.
        2. The debtor owns 33 parcels of real estate. The majority of the parcels are encumbered by
mortgages. A list of the parcels is contained in Article III. All 33 parcels have been assigned a
parcel number. The assigned parcel numbers correspond to those referenced in the classification of
claims below in classes 1 through 5.

                                      C. Disclosure Statement
       1. The plan is accompanied by a disclosure statement. The purpose of the disclosure
statement is to provide sufficient information to creditors, and other interested parties, so that they
can make a reasonably informed decision as to whether to accept or reject the plan. If there is an
inconsistency between the plan and disclosure statement, the provisions of the plan shall control.




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                                    ARTICLE II
                       UNCLASSIFIED CLAIMS AND TREATMENT

                          A. Designation of Claims Left Unclassified
        1. Administrative and priority claims, together with secured tax claims which would
otherwise meet the description of a priority tax claim, are left unclassified under the plan pursuant
to the provisions of §1123(a)(1) and §1129(a)(9)(D) of the Bankruptcy Code.

                                B. Treatment of Unclassified Claims
        1. Each holder of an allowed administrative expense claim will be paid in full on or before
the effective date of this plan in cash, or upon such other terms as may be agreed upon by the holder
of the claim and the debtor.
        2. The debtor shall make equal monthly payments to creditors holding allowed priority tax
claims. The payments shall equal the amount of the priority tax claim amortized over the maximum
number of months permitted to pay priority tax claims, with interest at 3% per annum, or at such
greater amount as may be required under §511 of the Bankruptcy Code. Payments shall commence
on the effective date of the plan.
        3. U.S. Trustee fees will accrue and be timely paid until the case is closed, dismissed, or
converted to another chapter of the Bankruptcy Code. Any U.S. Trustee fees owed on or before the
effective date of this plan will be paid on the effective date.

                                        ARTICLE III
                                     CLASSIFIED CLAIMS

                           A. Designation of Classified Claims and Interests
        1. All claims and interests, except those left unclassified and described above, are
classified under the plan. The classification and treatment is set forth below.

                                  B. Treatment of Classified Claims
        1.Class 1 - Secured Claims of American Home Mortgage Servicing, Inc.
        a. This class is the allowed secured claims of those creditors, who hold mortgages on
Parcel 1 and 32. It is believed that American Home Mortgage Servicing, Inc. is the servicer of
these mortgages and that Federal National Mortgage Association is the owner of the mortgages.
        b. Payments on allowed secured claims in this class shall be amortized over 360 months
with interest at the Till rate, unless an election under §1111(b) of the Bankruptcy Code is made
by this class.
        c. The proposed Till rate is the prime rate on the confirmation date plus one percent
interest, per annum. The proposed Till rate shall be deemed the Till rate for this class, unless
otherwise ordered by the Court. Upon the filing of an objection to the plan regarding the
proposed Till rate, the Court shall establish the Till rate, upon the evidence presented.
        d. This class may elect to be treated as fully secured under the provisions of §1111(b) of
the Bankruptcy Code. If the election is made, the class will be treated as fully secured and claims
will be paid in full over 360 months, in equal monthly payments, without interest. If a creditor


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holding a claim in this class asserts that payment of a claim in this class, without interest, is less
than the amount required under §1129(b)(2)(i)(II) , the creditor shall be entitled to a hearing to
determine the value of its collateral. The procedure for determining the value of the collateral
may be initiated by the creditor, the debtor or established at the discretion of the Court. Upon a
determination by the Court of the value of the collateral securing a claim in this class, the
payments shall be adjusted and increased up to an amount which equals the value of the
collateral securing the claim, amortized over 360 months with interest at the Till rate.
        e. Payments to creditors holding claims in this class shall be equal in amount and
commence on the effective date of the plan, and continue on the same day of each succeeding
month, unless the Court has entered an order requiring adequate protection payments or there is
pending a motion to value the a claim in this class. If the Court has entered an order requiring
adequate protection payments to a creditor in this class, the payments under the plan for that
creditor shall be deemed to have commenced on the date of the first required adequate protection
payment, and they shall thereafter continue on the same day of each succeeding month until the
allowed secured claim is satisfied as described above. If there is a pending a motion to value a
claim in this class on the effective date of the plan, and there is no order requiring adequate
protection payments, the payments shall commence on the first day of the first month after an
order valuing the claim is final, and unappealable.
        f. Each creditor in this class shall retain its lien to the extent permitted by §506(d) of the
Bankruptcy Code. This class is impaired.
        2. Class 2 - Secured Claims of JPMorgan Chase Bank
        a. This class is the allowed secured claims of those creditors, who hold mortgages on
Parcels 2,3,5,6,7,9,14,17,18,19,22,23,24,25,26,27,28,29,and 30. It is believed that JPMorgan
Chase Bank or a related entity is the servicer or owner of the mortgages.
        b. Payments on allowed secured claims in this class shall be amortized over 360 months
with interest at the Till rate, unless an election under §1111(b) of the Bankruptcy Code is made
by this class.
        c. The proposed Till rate is the prime rate on the confirmation date plus one percent
interest, per annum. The proposed Till rate shall be deemed the Till rate for this class, unless
otherwise ordered by the Court. Upon the filing of an objection to the plan regarding the
proposed Till rate, the Court shall establish the Till rate, upon the evidence presented.
        d. This class may elect to be treated as fully secured under the provisions of §1111(b) of
the Bankruptcy Code. If the election is made, the class will be treated as fully secured and claims
will be paid in full over 360 months, in equal monthly payments, without interest. If a creditor
holding a claim in this class asserts that payment of a claim in this class, without interest, is less
than the amount required under §1129(b)(2)(i)(II) , the creditor shall be entitled to a hearing to
determine the value of its collateral. The procedure for determining the value of the collateral
may be initiated by the creditor, the debtor or established at the discretion of the Court. Upon a
determination by the Court of the value of the collateral securing a claim in this class, the
payments shall be adjusted and increased up to an amount which equals the value of the
collateral securing the claim, amortized over 360 months with interest at the Till rate.



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        e. Payments to creditors holding claims in this class shall be equal in amount and
commence on the effective date of the plan, and continue on the same day of each succeeding
month, unless the Court has entered an order requiring adequate protection payments or there is
pending a motion to value the a claim in this class. If the Court has entered an order requiring
adequate protection payments to a creditor in this class, the payments under the plan for that
creditor shall be deemed to have commenced on the date of the first required adequate protection
payment, and they shall thereafter continue on the same day of each succeeding month until the
allowed secured claim is satisfied as described above. If there is a pending a motion to value a
claim in this class on the effective date of the plan, and there is no order requiring adequate
protection payments, the payments shall commence on the first day of the first month after an
order valuing the claim is final, and unappealable.
      f. Each creditor in this class shall retain its lien to the extent permitted by §506(d) of the
Bankruptcy Code. This class is impaired.
       3. Class 3 - Secured Claims of Greentree Mortgage Company.
        a. This class is the allowed secured claims of those creditors, who hold a mortgage on
Parcel 33. It is believed that Greentree Mortgage Company or a related entity is the servicer or
owner of the mortgage.
       b. Payments on allowed secured claims in this class shall be amortized over 360 months
       with interest at the Till rate, unless an election under §1111(b) of the Bankruptcy Code is
       made by this class.
        c. The proposed Till rate is the prime rate on the confirmation date plus one percent
interest, per annum. The proposed Till rate shall be deemed the Till rate for this class, unless
otherwise ordered by the Court. Upon the filing of an objection to the plan regarding the
proposed Till rate, the Court shall establish the Till rate, upon the evidence presented.
        d. This class may elect to be treated as fully secured under the provisions of §1111(b) of
the Bankruptcy Code. If the election is made, the class will be treated as fully secured and claims
will be paid in full over 360 months, in equal monthly payments, without interest. If a creditor
holding a claim in this class asserts that payment of a claim in this class, without interest, is less
than the amount required under §1129(b)(2)(i)(II) , the creditor shall be entitled to a hearing to
determine the value of its collateral. The procedure for determining the value of the collateral
may be initiated by the creditor, the debtor or established at the discretion of the Court. Upon a
determination by the Court of the value of the collateral securing a claim in this class, the
payments shall be adjusted and increased up to an amount which equals the value of the
collateral securing the claim, amortized over 360 months with interest at the Till rate.
        e. Payments to creditors holding claims in this class shall be equal in amount and
commence on the effective date of the plan, and continue on the same day of each succeeding
month, unless the Court has entered an order requiring adequate protection payments or there is
pending a motion to value the a claim in this class. If the Court has entered an order requiring
adequate protection payments to a creditor in this class, the payments under the plan for that
creditor shall be deemed to have commenced on the date of the first required adequate protection
payment, and they shall thereafter continue on the same day of each succeeding month until the

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allowed secured claim is satisfied as described above. If there is a pending a motion to value a
claim in this class on the effective date of the plan, and there is no order requiring adequate
protection payments, the payments shall commence on the first day of the first month after an
order valuing the claim is final, and unappealable.
      f. Each creditor in this class shall retain its lien to the extent permitted by §506(d) of the
Bankruptcy Code. This class is impaired.
       4. Class 4 - Secured Claims of HSBC Bank USA, N.A.
        a. This class is the allowed secured claims of those creditors, who hold a mortgages on
Parcels 15 and 21. It is believed that HSBC Bank USA, N.A., as Trustee or a related entity is the
servicer or owner of the mortgage.
        b. Payments on allowed secured claims in this class shall be amortized over 360 months
with interest at the Till rate, unless an election under §1111(b) of the Bankruptcy Code is made
by this class.
        c. The proposed Till rate is the prime rate on the confirmation date plus one percent
interest, per annum. The proposed Till rate shall be deemed the Till rate for this class, unless
otherwise ordered by the Court. Upon the filing of an objection to the plan regarding the
proposed Till rate, the Court shall establish the Till rate, upon the evidence presented.
        d. This class may elect to be treated as fully secured under the provisions of §1111(b) of
the Bankruptcy Code. If the election is made, the class will be treated as fully secured and claims
will be paid in full over 360 months, in equal monthly payments, without interest. If a creditor
holding a claim in this class asserts that payment of a claim in this class, without interest, is less
than the amount required under §1129(b)(2)(i)(II) , the creditor shall be entitled to a hearing to
determine the value of its collateral. The procedure for determining the value of the collateral
may be initiated by the creditor, the debtor or established at the discretion of the Court. Upon a
determination by the Court of the value of the collateral securing a claim in this class, the
payments shall be adjusted and increased up to an amount which equals the value of the
collateral securing the claim, amortized over 360 months with interest at the Till rate.
        e. Payments to creditors holding claims in this class shall be equal in amount and
commence on the effective date of the plan, and continue on the same day of each succeeding
month, unless the Court has entered an order requiring adequate protection payments or there is
pending a motion to value the a claim in this class. If the Court has entered an order requiring
adequate protection payments to a creditor in this class, the payments under the plan for that
creditor shall be deemed to have commenced on the date of the first required adequate protection
payment, and they shall thereafter continue on the same day of each succeeding month until the
allowed secured claim is satisfied as described above. If there is a pending a motion to value a
claim in this class on the effective date of the plan, and there is no order requiring adequate
protection payments, the payments shall commence on the first day of the first month after an
order valuing the claim is final, and unappealable.
      f. Each creditor in this class shall retain its lien to the extent permitted by §506(d) of the
Bankruptcy Code. This class is impaired.


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       5. Class 5 - Secured Claims of Wells Fargo Bank, N.A.
       a. This class is the allowed secured claims of those creditors, who hold a mortgages on
Parcels 4,12, and 13. It is believed that Wells Fargo Bank, N.A. or a related entity is the servicer
or owner of the mortgage.
        b. Payments on allowed secured claims in this class shall be amortized over 360 months
with interest at the Till rate, unless an election under §1111(b) of the Bankruptcy Code is made
by this class.
        c. The proposed Till rate is the prime rate on the confirmation date plus one percent
interest, per annum. The proposed Till rate shall be deemed the Till rate for this class, unless
otherwise ordered by the Court. Upon the filing of an objection to the plan regarding the
proposed Till rate, the Court shall establish the Till rate, upon the evidence presented.
        d. This class may elect to be treated as fully secured under the provisions of §1111(b) of
the Bankruptcy Code. If the election is made, the class will be treated as fully secured and claims
will be paid in full over 360 months, in equal monthly payments, without interest. If a creditor
holding a claim in this class asserts that payment of a claim in this class, without interest, is less
than the amount required under §1129(b)(2)(i)(II) , the creditor shall be entitled to a hearing to
determine the value of its collateral. The procedure for determining the value of the collateral
may be initiated by the creditor, the debtor or established at the discretion of the Court. Upon a
determination by the Court of the value of the collateral securing a claim in this class, the
payments shall be adjusted and increased up to an amount which equals the value of the
collateral securing the claim, amortized over 360 months with interest at the Till rate.
        e. Payments to creditors holding claims in this class shall be equal in amount and
commence on the effective date of the plan, and continue on the same day of each succeeding
month, unless the Court has entered an order requiring adequate protection payments or there is
pending a motion to value the a claim in this class. If the Court has entered an order requiring
adequate protection payments to a creditor in this class, the payments under the plan for that
creditor shall be deemed to have commenced on the date of the first required adequate protection
payment, and they shall thereafter continue on the same day of each succeeding month until the
allowed secured claim is satisfied as described above. If there is a pending a motion to value a
claim in this class on the effective date of the plan, and there is no order requiring adequate
protection payments, the payments shall commence on the first day of the first month after an
order valuing the claim is final, and unappealable.
      f. Each creditor in this class shall retain its lien to the extent permitted by §506(d) of the
Bankruptcy Code. This class is impaired.
       6. Class 6 - Unsecured Deficiency Claims
       a. This class is comprised of the allowed general unsecured claims of creditors who also
hold secured claims in classes 1, 2, 3, 4 and 5. These claims are the allowed general unsecured
claims of those creditors after a valuation of collateral under §506 of the Bankruptcy Code.



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       b. Creditors in any class which makes an election under §1111(b) of the Bankruptcy
Code to be treated as fully secured shall not be treated as members in this class.
        c. The debtor shall disburse each month to each creditor in this class an amount which is
sufficient to satisfy the allowed general unsecured claim, without interest, in 240 equal monthly
payments.
        d. Disbursements to creditors in this class shall commence on the first day of the first
month after the effective date of the plan, except for creditors who have a motion to value the
their secured claim pending. If a creditor in this class has a motion to value its secured claim
pending on the first day of the first month after the effective date of the plan, the creditor shall
commence receiving distribution on the first day of the first month after an order determining the
value of the claim is final and nonappealable.
       e. This class is impaired.
       7. Class 7 - Allowed General Unsecured Claims.
        a. This class is comprised of allowed general unsecured claims held by those who are not
entitled to distribution as creditors in classes 1,2,3,4,5 and 7. No person or entity who is an
insider shall receive distribution as a member of this class.
        b. The debtor shall disburse each month to each creditor in this class an amount which is,
at a minimum, sufficient to satisfy the allowed general unsecured claim, without interest, in 12
equal monthly payments.
         c. Disbursements to creditors in this class shall commence on the first day of the first
month after the effective date of the plan, except for creditors who have an objection to claim
pending. If a creditor in this class has an objection to claim pending on the first day of the first
month after the effective date of the plan, the creditor shall commence receiving distribution on
the first day of the first month after an order entered on the objection to claim is final and
nonappealable.
       d. This class is impaired.
       8. Class 8 - Allowed General Unsecured Claims of Insiders.
        a. This class is comprised of allowed general unsecured claims held by any person or
entity who is an insider.
         c. The debtor shall disburse each month to each creditor in this class an amount which is
at least sufficient to satisfy the allowed general unsecured claim, without interest, in 360 equal
monthly payments.
         d. Disbursements to creditors in this class shall commence on the first day of the first
month after the effective date of the plan, except for creditors who have an objection to claim
pending. If a creditor in this class has an objection to claim pending on the first day of the first
month after the effective date of the plan, the creditor shall commence receiving distribution on
the first day of the first month after an order entered on the objection to claim is final and
nonappealable.
       e. This class is impaired.

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          9. Class 9 - Equity Interests of the debtor.
          a. This class is comprised of the interests of those holding an ownership interest in the
debtor.
          b. This class is not impaired.


                          C. Executory Contracts and Unexpired Leases
        1. The debtor is a party to several unexpired residential leases for the property owned by
the debtor. To the extent they might exist they shall be deemed assumed on the effective date of
the plan.
                 III. Provisions Applicable to All Creditors and Interested Parties


                                           A. General Provisions
       1. The following provisions set forth below are applicable to all parties and interests
under the plan.
       a. The rights and obligations of any entity named or referred to in this plan will be
binding upon, and will inure to the benefit of the successors or assigns of such entity.
        b. The headings contained in this plan are for convenience of reference only and do not
affect the meaning or interpretation of this plan.
        c. Unless a rule of law or procedure is supplied by federal law, including the Bankruptcy
Code and the Federal Rules of Bankruptcy Procedure, the laws of the State of Florida govern
this plan and any agreements, documents, and instruments executed in connection with this plan,
except as otherwise provided in this plan.
       d. On the confirmation date of this plan, the debtor will be discharged from any debt that
arose before the petition date, except as provided by §1141 of the Bankruptcy Code.
        e. The debtor, upon reasonable request by any creditor holding an allowed secured claim
which has been classified under the terms of the plan, shall execute a note, security agreement,
mortgage or other similar instrument or document to reflect the amounts owing upon the
effective date of the plan, the terms of payment as provided by the plan, and to preserve and
maintain any security interest, mortgage interest or lien rights. It shall be the responsibility of the
creditor to prepare any such instrument or document. Instruments and documents prepared under
this section may provide that the debtor be required to maintain insurance and pay taxes on
collateral, only to the extent that a creditor had such a right by way of statute or written
agreement prior to the commencement of the case. Instruments and documents prepared under
this section may provide that if the debtor defaults in payments under the plan, or in any
obligation by way of statute or written agreement to provide insurance or pay taxes (except taxes
paid through the plan and owing on the effective date of the plan), then the creditor may, at its

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option, accelerate full payment of the obligation. Upon default, as set forth above, the instrument
may provide that the creditor pursue its remedies in its collateral, as provided by law, including
repossession or foreclosure of its interest. Further, upon default as set forth above, the document
or instrument may provide that the creditor is entitled to reasonable attorney's fees and costs
incurred in the preservation, liquidation of its collateral, foreclosure of its lien rights, or in
collecting amounts due only to the extent that a creditor has such a right by way of statute or
written agreement prior to the commencement of the case. Such instruments and documents may
also provide for payment of a late charge upon the failure of the debtor to make timely payments,
and to escrow taxes and insurance, only to the extent that a creditor had such a right by way of
statute or written agreement prior to the commencement of the case.
        f. The debtor, upon reasonable request by any creditor holding an allowed unsecured
claim which has been classified under the terms of the plan, shall execute a note (or other similar
instrument or document) to reflect the amounts owing to the creditor upon the effective date of
the plan, and the terms of payment as provided by the plan. It shall be the responsibility of the
creditor to prepare any note. Notes, prepared under this section may provide that if the debtor
defaults in payments under the plan, then the creditor may, at its option, accelerate full payment
of the obligation and may provide that the creditor is entitled to reasonable attorney's fees and
costs incurred in collecting amounts due. Notes prepared under this section may rely on
information provided in the disclosure statement to determine the monthly payments.
      g. Each secured creditor shall retain its lien to the extent permitted by §506(d) of the
Bankruptcy Code.
       h. If any provision in this Plan is determined to be unenforceable, the determination will
in no way limit or affect the enforceability and operative effect of any other provision of this
Plan.
                                           B. Definitions
       1. The term “allowed administrative expense claim” shall mean a claim which is an
allowed administrative expense under § 507(a)(2) of the Bankruptcy Code.
        2. The term “allowed claim” shall mean a claim (a) in respect of which a proof of claim
has been filed with the Court within the applicable period of limitation fixed by Fed. R. Bankr.
P. 3001;or, (b) scheduled in the list of creditors prepared with the Court pursuant to Fed. R.
Bankr. P. 1007(b), and not listed as disputed, contingent or unliquidated as to the amount, in
either case as to which no objection to the allowance thereof has been interposed within any
applicable period of limitation fixed by Rule 3001 or an order of the Court, or as to which any
such objection has been determined by an order or judgment which is no longer subject to appeal
or certiorari proceeding and as to which no appeal or certiorari proceeding is pending.
       3. The term “allowed general unsecured claim” shall mean a claim which is an allowed
claim which is not secured or entitled to priority under § 507(a) of the Bankruptcy Code.
        4. The term “allowed interest” shall mean an interest (a) in respect of which a proof of
interest has been filed with the Court within the applicable period of limitation fixed by Fed. R.
Bankr. P. 3001; or (b) scheduled in the list of equity security holders prepared and filed with the
Court pursuant to Fed. R. Bankr. P. 1007(b), in either case as to which no objection to the

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allowance thereof has been interposed within any applicable period of limitation fixed by Rule
3001 or an order of the Court, or as to which any such objection has been determined by an order
or judgment which is no longer subject to appeal or certiorari proceeding and as to which no
appeal or certiorari proceeding is pending.
        5. The term “allowed priority tax claim” shall mean a claim which is an Allowed Claim
and a claim as described in under § 507(a)(8) of the Bankruptcy Code and shall include an
allowed secured claim which would otherwise meet the description of a claim under section
507(a)(8).
        6. The term “allowed secured claim” shall mean an allowed claim secured by a lien,
security interest or other charge against or interest in property in which the debtor has an interest,
or which is subject to setoff under § 553 of the Bankruptcy Code, to the extent of the value
(determined in accordance with § 506(a)) of the interest of the holder of such allowed claim in
the debtor’s interest in such property or to the extent of the amount subject to such setoff, as the
case may be.
        7. The term “Bankruptcy Code” shall mean the Bankruptcy Code codified at 11 U.S.C.
§101 et seq.
       8. The term “balloon payment” shall mean a payment in an amount necessary to satisfy
an allowed claim, including principal, accrued interest, or other charges.
        9. The term “claim” shall mean any right to payment, or right to an equitable remedy for
breach of performance if such breach gives rise to a right to payment against debtor in existence
on or as of the petition date, whether or not such right to payment or right to an equitable remedy
is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured,
disputed, undisputed, legal, beneficial, secured or unsecured.
        10. The term “class” shall mean any class into which allowed claims or allowed interests
are classified pursuant to the provisions of § 1122 of the Bankruptcy Code.
       11. The term “confirmation date” shall mean the date upon which the order of
confirmation is entered by the Court.
        l2. The term “confirmation order” shall mean shall mean the order entered by the Court
confirming the plan in accordance with the provisions of chapter 11 of the Bankruptcy Code,
which order is no longer subject to appeal or certiorari proceeding or as to which no appeal or
certiorari proceeding is pending. This term is synonymous with the term “order of confirmation”.
        13. The term “Court” shall mean the United States Bankruptcy Court for the Middle
District of Florida, Jacksonville Division, and any court having competent jurisdiction to hear
appeals or certiorari proceedings therefrom.
          14. The term “creditor”shall mean any person or entity that has a claim against the
debtor.
        15. The term “debtor” or “debtors” shall mean the debtor or debtors listed in the caption
of this document.



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       16. The term “disclosure statement” shall mean the document labeled as the disclosure
statement accompanying the plan, and approved by the Court in accordance with
§1125 of the Bankruptcy Code.
       17. The term “effective date of plan” or “effective date of the plan” or “effective date”
shall mean the first day of the second month following the date of the entry of order of
confirmation which is final and non-appealable.
      18. The term “maximum number of months permitted to pay priority tax claims” shall
mean 5 years from the petition date as set forth in §1129(a)(9)(C)(ii) of the Bankruptcy Code.
        19. The term “order of confirmation” shall mean the order entered by the Court
confirming the plan in accordance with the provisions of chapter 11 of the Bankruptcy Code,
which order is no longer subject to appeal or certiorari proceeding or as to which no appeal or
certiorari proceeding is pending. This term is synonymous with the term “confirmation order”.
       20. The term “petition date” shall mean the date the debtor filed its voluntary petition
under chapter 11 of the Bankruptcy Code.
       21. The term “plan” shall mean this chapter 11 plan, as amended, in accordance with the
terms hereof or modified in accordance with the Bankruptcy Code.
       22. The term “plan proponent” shall mean the debtor.
        23. The term “prime rate ” shall mean the prime rate of interest, as reported by the Wall
Street Journal.
        24. The term “proposed Till rate” shall mean the Till rate proposed by the debtor as
identified in the plan.
       25. The term “satisfied”or “satisfaction” shall mean the payment of an allowed claim as
provided for under the term of the plan, including any interest or other charges as provided for
under the terms of the plan.
       26. The term “Till rate” shall mean the rate of interest per annum determined in
accordance with the rationale enunciated in Till v. SCS Credit Corp.,541 U.S. 465, 124 S.Ct.
1951, 158 L.Ed.2d 787 (2004). The proposed Till rate shall be the Till rate, unless otherwise
ordered by the Court, and as provided in the plan.


                        C. Parcels of Real Estate Owned by the Debtor
       1. The debtor owns 33 parcels of real estate. The majority of the parcels are encumbered
by mortgages. A list of the parcels is provided below. All 33 parcels have been assigned a parcel
number. The parcel numbers correspond to those referenced in the classification of claims in the
plan. The mortgagee listed is based upon the records of the debtor and billing statements
provided by mortgagees. More detailed information regarding each parcel is included in the
disclosure statement.




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Parcel 1
Location:113-115 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C01000
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: American Home Servicing, Inc.
Parcel 2
Location:117-119 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C00900
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 3
Location:121-123 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C00800
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 4
Location:122 & 124 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B00900
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Wells Fargo
Parcel 5
Location:128 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B00800
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 6
Location: 129-131 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C00600
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase




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Parcel 7
Location:132 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B00700
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 8
Location:138 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B00500
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: None
Parcel 9
Location:135 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C00500
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 10
Location: Shiloh Avenue Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B00400
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: None
Parcel 11
Location:143 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C00400
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: None
Parcel 12
Location:146 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B00300
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Wells Fargo




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Parcel 13
Location:150 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B00200
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Wells Fargo
Parcel 14
Location:495 Arlington Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C00100
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 15
Location:130 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000A00600
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: HSBC Bank USA, N.A., as Trustee
Parcel 16
Location: Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B02000
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: None
Parcel 17
Location:126 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000A00700
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 18
Location:125 &127 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01800
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase




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Parcel 19
Location:122 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000A00800
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 20
Location:121 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01701
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: None
Parcel 21
Location:118 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000A00900
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: HSBC Bank USA, N.A., as Trustee
Parcel 22
Location:117 & 119 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01600
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 23
Location:114 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000A01000
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 24
Location:113 & 115 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01500
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase




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Parcel 25
Location:110 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000A01100
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 26
Location:109 & 111 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01400
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 27
Location:103 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01300
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 28
Location:102 Shenandoah Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000A01200
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 29
Location: 102 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01200
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 30
Location: 105 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C01200
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase




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Parcel 31
Location: 114 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01100
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: Chase
Parcel 32
Location: 118 - 120 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000B01000
Legal Description: O.R. Book 3327/1258, Lake County, Florida
Mortgagee: American Home Mortgage Servicing, Inc.
Parcel 33
Location: 125 Shiloh Avenue, Lady Lake, FL 32159
Parcel Identification Number: 20-18-24-050000C00701
Legal Description: O.R. Book 3250/1954, Lake County, Florida
Mortgagee: Green Tree


Dated: August 13, 2012                   By: /s/ Richard A. Perry
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